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 5 Attorney for Defendant
     ROBERT MARTINEZ
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 8                         IN THE UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                         CASE NO. 1:13-CR-0077-LJO-BAM
11                                Plaintiff,           STIPULATION TO CONTINUE
                                                       SENTENCING
12   v.
13   ROBERT MARTINEZ,
14                                Defendant.
15

16          Defendant, ROBERT MARTINEZ, by and through his counsel of record,
17
     NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and
18
     through its counsel of record, KIMBERLY A. SANCHEZ, Assistant United States Attorney
19
20 for the Eastern District of California, hereby stipulate that the sentencing in the above-

21 referenced case currently scheduled for Monday, January 23, 2017, at 8:30 a.m. be continued

22
     to Monday, March 20, 2017 at 8:30 a.m. in the courtroom for the Honorable Lawrence J.
23
     O’Neill, District Judge.
24

25          This stipulation is based on good cause since defendant is receiving extensive medical

26 treatment and is scheduled to have surgery on February 14, 2017 at UCSF San

27
     Francisco (see attached medical records). The government has no opposition to this request.
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     IT IS SO STIPULATED
 1                                                   Respectfully submitted,
 2
     Dated: January 18, 2017                         /s/ Nicholas F. Reyes
 3                                                   NICHOLAS F. REYES
 4
                                                     Attorney for Defendant

 5 IT IS SO STIPULATED

 6

 7
     Dated: January 18, 2017                          /s/ Kimberly A. Sanchez
 8                                                   KIMBERLY A. SANCHEZ
                                                     Assistant U.S. Attorney
 9

10                                    ORDER
11 GRANTED, However, should the surgery not occur as scheduled, Defense Counsel

12 must notify the Court and the sentencing will take place the following week.

13
     IT IS SO ORDERED.
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15      Dated:   January 18, 2017                     /s/ Lawrence J. O’Neill _____
                                            UNITED STATES CHIEF DISTRICT JUDGE
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